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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                        CASE N O.II-I4OS8-CR-M ARTINEZ/LYNCH

  UNITED STATES OF AM ERICA

         Plaintiff,
  VS.

  LER OY B.SA TCH ELL,

         Defendant.


        ORDER ADOPTING M AGISTM TE'S REPORT AND RECOM M ENDATION

        THIS CAUSE camebeforetheCourtupon theOrderofReferencefrom theDistrict
  Courtto conductaChange ofPleabefore aM agistrateJudge.
        TH E M ATTER wasreferred to M agistrateJudgeFrank J.Lynch Jr,on M arch 15,2012.
  A ReportandRecommendationwastlledonM arch 28,2012,(D.E.#172),recommendingthat
  theDefendant'spleaofguilty beaccepted.TheDefendantandtheGovernm entwereafforded the
  opportunitytofileobjectionstotheReportandRecommendation,howevernonewereEled.The
  Courthasconducted ade novoreview oftheentirefile.Accordingly,itis

         ORDERED AND ADJUDGED that
         TheReportandRecom mendation ofUnited StatesM agistrateJudgeFrank J.Lynch Jr,is
  hereby Adopted and Approved in itsentirety.
         TheDefendantisadjudgedguiltytoCountOneoftheIndictment,whichchargesthe
  Defendantwith conspiracy to comm itm ailfraud,in violation ofTitle 18,United StatesCode,
  Section 1349.
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   Copied:Hon.M agistrattLynch
   A11CounselOfRecord
   U.S.Probation Office
